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 Deloitte Transactions and Business Analytics LLP
 191 Peachtree Street, Suite 2000
 Atlanta, GA 30303-1749
 Telephone: 404.631.3455
 Facsimile: 404.443.9555
 Keith Adams

 Valuation and Discovery Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al.,1                                                   | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

  THIRTEENTH MONTHLY FEE STATEMENT OF DELOITTE TRANSACTIONS AND
   BUSINESS ANALYTICS LLP FOR COMPENSATION FOR SERVICES RENDERED
     AND REIMBURSEMENT OF EXPENSES INCURRED AS VALUATION AND
     DISCOVERY SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
               FROM JANUARY 1, 2018 THROUGH JUNE 30, 2018
 Name of Applicant:                                                              Deloitte Transactions and Business Analytics LLP
 Authorized to Provide Services as:                                              Valuation and Discovery Services Provider
 Date of Retention:                                                              Nunc Pro Tunc to March 29, 2017
 Period for which Compensation and                                              January 1, 2018 through June 30, 2018
 Reimbursement is Sought:
 Amount of Compensation Sought as                                                                                            $57,441.84
 Actual, Reasonable, and Necessary:
 Amount of Expense Reimbursement Sought:                                                                                              $0.00
 Total Amount of Fees and Expense Reimbursement
 Sought as Actual, Reasonable and Necessary (100%):                                                                           $57,441.84

 Less 20% Holdback:                                                                                                        ($11,488.37)
 Total Fees and Expenses Due:                                                                                                 $45,953.47



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are: Westinghouse
 Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field Services, LLC (2550),
 Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586), PCI Energy Services LLC (9100),
 Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc.
 (1673), Stone & Webster, Inc. d/b/a WECTEC Global Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster
 Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy
 Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
 Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168), WECTEC
 LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961).
 The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                  CUMULATIVE TIME SUMMARY
                   Trailing Fees For the Period of January 1, 2018 through June 30, 2018

      Name                                    Position                  Total           Hourly            Total Fees
                                                                        H                R
      Adams, Keith                            Partner/Principal            6.80            $640             $4,352.00
      Moss, Kevin                             Partner/Principal            3.00            $640             $1,920.00
      Hannagan, Peter                         Senior Manager              22.70            $561            $12,734.70
      Barrazotto, Chip                        Consultant                  80.90            $388            $31,389.20
      Kandukuri, Pavani                       Consultant                   0.30            $388               $116.40
      Ramakrishnan, Swetha                    Consultant                   3.00            $388             $1,164.00
      Sawyer, Thomas                          Consultant                   1.20            $388               $465.60
      Abrom, Carisa                           Sr. Consultant               1.80            $350               $630.00
      Total Fees                                                        119.70                             $52,771.90

 Average Billing Rate: $440.87


                         CUMULATIVE FEES BY CATEGORY SUMMARY2
                   Trailing Fees For the Period of January 1, 2018 through June 30, 2018

 Valuation Services
  Project Categories                                                      Total Hours                       Total Fees
  Trade Name Impairment Test                                                    117.90                     $52,141.90
  Preparation of Fee Applications                                                 1.80                        $630.00
  Total Fees                                                                    119.70                     $52,771.90


     Discovery Services
      Project Categories                                                  Total Hours                        Total Fees
      User Fees                                                                                              $2,465.00
      Hosting Fees                                                                                           $2,204.94
      Total Fees                                                                                             $4,669.94




 2     Pursuant to the Application of Debtors Pursuant to 11 U. S. C. §§ 327(a) and 328 and Fed. R. Bankr. P 2014(a) and 2016,
       and Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Transactions and Business Analytics LLP
       as Valuation and Discovery Services Provider Nunc Pro Tunc to the Petition Date (the “DTBA Retention Application”),
       DTBA provides certain e-discovery services to the Debtors that may be billed according to different metrics than hourly
       rates, as set forth in Appendix B to the Engagement Letter (as such term is defined in the DTBA Retention Application).

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                      Westinghouse Electric Company LLC
             Deloitte Transactions and Business Analytics LLP
                  Fees Sorted by Category for the Fee Period
                                  January 01, 2018 - May 31, 2018

Date                      Description                                 Rate    Hours       Fees

Trade Name Impairment Test
01/16/2018
   Hannagan, Peter        Discuss trade name impairment test        $561.00     1.0    $561.00
                          requirements with C. Weber
                          (Westinghouse).
01/17/2018
   Hannagan, Peter        Review prior Westinghouse trade           $561.00     1.8   $1,009.80
                          name impairment test analyses to
                          develop information request.
02/02/2018
   Adams, Keith           Discuss trade name impairment test        $640.00     0.5    $320.00
                          with C. Weber (Westinghouse).
02/12/2018
   Adams, Keith           Call with J. Young, C. Weber, J. Hiltz    $640.00     1.2    $768.00
                          (Westinghouse) and P. Hannagan and
                          T. Sawyer (Deloitte) on Westinghouse
                          business plan.
   Hannagan, Peter        Call with J. Young, C. Weber, J. Hiltz    $561.00     1.2    $673.20
                          (Westinghouse) and K. Adams and T.
                          Sawyer (Deloitte) on Westinghouse
                          business plan.
   Sawyer, Thomas         Call with J. Young, C. Weber, J. Hiltz    $388.00     1.2    $465.60
                          (Westinghouse) and P. Hannagan and
                          K. Adams (Deloitte) on Westinghouse
                          business plan.
02/20/2018
   Barrazotto, Chip       Meeting with P. Hannagan (Deloitte) to    $388.00     0.4    $155.20
                          discuss trade name impairment
                          valuation project.
   Barrazotto, Chip       Research the weighted average cost of     $388.00     3.3   $1,280.40
                          capital analysis for Westinghouse
                          Electric Company LLC.
   Barrazotto, Chip       Review of Westinghouse projections,       $388.00     2.8   $1,086.40
                          including WEC Business Plan and the
                          WEC 2018 Trade Name Impairment
                          Test Statement of Work between
                          Westinghouse and Deloitte.




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                 Fees Sorted by Category for the Fee Period
                                  January 01, 2018 - May 31, 2018
Date                      Description                                  Rate    Hours       Fees

Trade Name Impairment Test
02/20/2018
   Barrazotto, Chip       Review the Westinghouse Goodwill           $388.00     1.7    $659.60
                          Impairment testing report as of
                          December 31, 2016 to compare and
                          support certain valuation inputs
                          selected.
   Hannagan, Peter        Meeting with C. Barrazotto (Deloitte) to   $561.00     0.4    $224.40
                          discuss trade name impairment
                          valuation project.
02/21/2018
   Barrazotto, Chip       Create a historical balance sheet for      $388.00     2.1    $814.80
                          Westinghouse.
   Barrazotto, Chip       Create an exhibit to estimate the fair     $388.00     3.5   $1,358.00
                          value of the Westinghouse Trade
                          Name using the relief from royalty
                          valuation method and financial
                          information provided by Westinghouse.
   Barrazotto, Chip       Create an exhibit to estimate the          $388.00     3.4   $1,319.20
                          Internal Rate of Return using the
                          financial information and projections
                          provided by Westinghouse.
02/22/2018
   Barrazotto, Chip       Create an exhibit in the Trade Name        $388.00     2.7   $1,047.60
                          valuation model to estimate the
                          weighted average return on assets.
   Barrazotto, Chip       Review and edit the trade name             $388.00     3.2   $1,241.60
                          valuation model, including current
                          exhibits.
   Barrazotto, Chip       Update trade name valuation model.         $388.00     2.6   $1,008.80
02/23/2018
   Barrazotto, Chip       Edit Westinghouse trade name               $388.00     2.2    $853.60
                          valuation model.
   Barrazotto, Chip       Update industry, company, economic         $388.00     3.6   $1,396.80
                          and valuation analysis summary
                          sections of the Westinghouse trade
                          name impairment testing report.
   Barrazotto, Chip       Prepare draft of report for                $388.00     3.2   $1,241.60
                          Westinghouse trade name impairment
                          testing valuation.


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                 Fees Sorted by Category for the Fee Period
                                  January 01, 2018 - May 31, 2018
Date                      Description                                 Rate    Hours       Fees

Trade Name Impairment Test
02/23/2018
   Barrazotto, Chip       Discuss trade name impairment test        $388.00     0.5    $194.00
                          model with P. Hannagan (Deloitte).
   Hannagan, Peter        Discuss trade name impairment test        $561.00     0.5    $280.50
                          model with C. Barrazotto (Deloitte).
02/26/2018
   Barrazotto, Chip       Revise Westinghouse trade name            $388.00     3.1   $1,202.80
                          valuation exhibit.
   Barrazotto, Chip       Update trade name valuation sections      $388.00     3.4   $1,319.20
                          of the Westinghouse trade name
                          impairment report.
02/27/2018
   Barrazotto, Chip       Revise Westinghouse trade name            $388.00     1.1    $426.80
                          valuation exhibit.
02/28/2018
   Barrazotto, Chip       Update the trade name impairment          $388.00     0.3    $116.40
                          analysis for the new tax rate.
03/01/2018
   Barrazotto, Chip       Analyze exhibits in Westinghouse          $388.00     1.4    $543.20
                          trade name model were linked
                          correctly, including updating final
                          assumptions of draft model.
   Barrazotto, Chip       Update Westinghouse trade name            $388.00     2.7   $1,047.60
                          impairment model.
   Hannagan, Peter        Review valuation model for                $561.00     2.4   $1,346.40
                          Westinghouse trade name impairment
                          test.
03/02/2018
   Hannagan, Peter        Read emails from J. Hiltz                 $561.00     1.0    $561.00
                          (Westinghouse) regarding trade name
                          impairment test information.
   Hannagan, Peter        Provide comments to C. Barrazotto         $561.00     2.9   $1,626.90
                          (Deloitte) via email on first draft of
                          impairment test model.




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                  Fees Sorted by Category for the Fee Period
                                     January 01, 2018 - May 31, 2018
Date                         Description                                  Rate    Hours       Fees

Trade Name Impairment Test
03/05/2018
   Barrazotto, Chip          Meeting with P. Hannagan (Deloitte),       $388.00     0.4    $155.20
                             C. Weber (Westinghouse), and J. Hiltz
                             (Westinghouse) to discuss trade name
                             impairment valuation project.
   Barrazotto, Chip          Update Westinghouse trade name             $388.00     2.4    $931.20
                             impairment model based on meeting
                             with P. Hannagan, C. Weber, and J.
                             Hiltz.
   Barrazotto, Chip          Update Westinghouse trade name             $388.00     3.3   $1,280.40
                             impairment model.
   Hannagan, Peter           Review draft interim trade name            $561.00     1.6    $897.60
                             impairment test analysis.
   Hannagan, Peter           Meeting with C. Barrazotto (Deloitte),     $561.00     0.4    $224.40
                             C. Weber (Westinghouse), and J. Hiltz
                             (Westinghouse) to discuss trade name
                             impairment valuation project.
03/06/2018
   Adams, Keith              Review draft trade name imapirment         $640.00     2.0   $1,280.00
                             test.
   Barrazotto, Chip          Finalize first draft of the trade name     $388.00     2.2    $853.60
                             impairment model.
   Hannagan, Peter           Review revised draft interim trade         $561.00     1.9   $1,065.90
                             name impairment test analysis.
03/07/2018
   Adams, Keith              Review revised draft trade name            $640.00     1.9   $1,216.00
                             imapirment test.
03/08/2018
   Ramakrishnan, Swetha      Perform math check for trade name          $388.00     3.0   $1,164.00
                             valuation model for Westinghouse.
03/12/2018
   Barrazotto, Chip          Perform additional Nuclear/Electric        $388.00     3.3   $1,280.40
                             Industry research to finalize respective
                             sections of the trade name impairment
                             report.
   Barrazotto, Chip          Update trade name impairment report.       $388.00     3.2   $1,241.60




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                  Fees Sorted by Category for the Fee Period
                                  January 01, 2018 - May 31, 2018
Date                      Description                                 Rate    Hours       Fees

Trade Name Impairment Test
03/13/2018
   Barrazotto, Chip       Set up archive for Westinghouse trade     $388.00     1.7    $659.60
                          name impairment documents.
   Barrazotto, Chip       Review Westinghouse trade name            $388.00     2.7   $1,047.60
                          impairment model.
   Hannagan, Peter        Review additional information provided    $561.00     1.1    $617.10
                          by J. Hiltz (Westinghouse) for trade
                          name impairment test.
03/14/2018
   Barrazotto, Chip       Gather materials to respond to initial    $388.00     2.3    $892.40
                          review comments in regards to the
                          Westinghouse Trade Name impairment
                          model.
03/16/2018
   Barrazotto, Chip       Meeting with P. Hannagan (Deloitte)       $388.00     0.5    $194.00
                          and J. Hiltz (Westinghouse) to discuss
                          certain exhibits and balance sheet
                          items for the Westinghouse trade
                          name impairment model.
   Hannagan, Peter        Meeting with C. Barrazotto (Deloitte)     $561.00     0.5    $280.50
                          and J. Hiltz (Westinghouse) to discuss
                          certain exhibits and balance sheet
                          items for the Westinghouse trade
                          name impairment model.
03/26/2018
   Barrazotto, Chip       Update Westinghouse trade name            $388.00     2.3    $892.40
                          impairment model.
   Hannagan, Peter        Review trade name impairment test         $561.00     3.4   $1,907.40
                          report.
03/27/2018
   Barrazotto, Chip       Update Westinghouse trade name            $388.00     1.7    $659.60
                          impairment report.
03/28/2018
   Adams, Keith           Review Westinghouse trade name            $640.00     1.2    $768.00
                          impairment test narrative report.
03/29/2018
   Hannagan, Peter        Address review comments on trade          $561.00     0.5    $280.50
                          name impairment test report.


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                 Fees Sorted by Category for the Fee Period
                                    January 01, 2018 - May 31, 2018
Date                         Description                                Rate    Hours        Fees

Trade Name Impairment Test
04/02/2018
   Barrazotto, Chip          Finalize Westinghouse trade name         $388.00     1.8     $698.40
                             impairment report.
04/03/2018
   Barrazotto, Chip          Archive final workpapers for             $388.00     1.7     $659.60
                             Westinghouse trade name impairment
                             analysis.
04/04/2018
   Kandukuri, Pavani         Review deliverables for Westinghouse     $388.00     0.3     $116.40
                             trade name impairment test.
04/05/2018
   Moss, Kevin               Review deliverables for Westinghouse     $640.00     1.5     $960.00
                             trade name impairment test.
04/09/2018
   Barrazotto, Chip          Respond to PwC's questions regarding     $388.00     2.2     $853.60
                             the trade name impairment model,
                             including preparation of supporting
                             documentation.
   Hannagan, Peter           Review trade name impairment model       $561.00     2.1    $1,178.10
                             and supporting documentation.
04/12/2018
   Barrazotto, Chip          Revise trade name impairment test        $388.00     0.5     $194.00
                             report.
04/16/2018
   Moss, Kevin               Review revised deliverables for          $640.00     1.5     $960.00
                             Westinghouse trade name impairment
                             test.
05/17/2018
   Barrazotto, Chip          Finalize trade name impairment           $388.00     1.0     $388.00
                             report/exhibits.
05/21/2018
   Barrazotto, Chip          Consolidated the finalized trade name    $388.00     0.5     $194.00
                             impairment report and exhibits and
                             sent to Westinghouse.
   Subtotal for Trade Name Impairment Test:                                     117.9   $52,141.90




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                   Fees Sorted by Category for the Fee Period
                                        January 01, 2018 - May 31, 2018
Date                            Description                                 Rate    Hours          Fees

Z- Preparation of Fee Applications
05/14/2018
   Abrom, Carisa                Prepare third interim fee application.    $350.00     1.8      $630.00
    Subtotal for Z- Preparation of Fee Applications:                                  1.8      $630.00
Total                                                                               119.7    $52,771.90




                                            Recapitulation
        Name                                                     Rate      Hours            Fees
        Adams, Keith                                       $640.00           6.8       $4,352.00
        Moss, Kevin                                        $640.00           3.0       $1,920.00
        Hannagan, Peter                                    $561.00          22.7      $12,734.70
        Barrazotto, Chip                                   $388.00          80.9      $31,389.20
        Kandukuri, Pavani                                  $388.00           0.3        $116.40
        Ramakrishnan, Swetha                               $388.00           3.0       $1,164.00
        Sawyer, Thomas                                     $388.00           1.2        $465.60
        Abrom, Carisa                                      $350.00           1.8        $630.00




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